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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT 0F TENNESSE .
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UNITED sTATEs OF AMERICA, W,»Dl“ %IS:' IIESHPHS
vs. No. 03-20434-Ma

MARSHALL CHISM,

Defendant.

 

ORDER ALLOWING DEFENDANT TO TRAVEL

 

Before the court is the July 25, 2005, motion by the
defendant Marshall Chism, requesting permission to travel to
Gatlinburg, Tennessee, on July 26, 2005, staying until July 29,
2005. The government does not oppose the motion. For good cause
shown, the motion is granted. Defendant Marshall Chism may
travel from Memphis, Tennessee, to Gatlinburg, Tennessee, on
Tuesday, July 26, 2005, returning to Memphis, Tennessee, on
Friday, July 29, 2005.

§
It is so ORDERED this Q` “`day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 106 in
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Honorable Samuel Mays
US DISTRICT COURT

